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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA



KAREN BURRISON,                       )
                                      )
                   Plaintiff,         )
                                      )         CIVIL ACTION
vs.                                   )
                                      )         FILE No.
GIVE SOME BACK, LLC and               )
KAMRON ASSOCIATES L.P.,               )
                                      )
                   Defendants.        )


                                  COMPLAINT

      COMES NOW, KAREN BURRISON, by and through the undersigned

counsel, and files this, her Complaint against Defendants, GIVE SOME BACK,

LLC and KAMRON ASSOCIATES LP, pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. ("ADA") and the ADA's Accessibility

Guidelines, 28 C.F .R. Part 36 ("ADAAG"). In support thereof, Plaintiff

respectfully shows this Court as follows:

                                 JURISDICTION

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiffs claims pursuant to 42 U.S.C. § 12181, et

seq., based upon Defendants' failure to remove physical barriers to access and

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violations of Title III of the ADA.

                                      PARTIES

      2.     Plaintiff, KAREN BURRISON (hereinafter "Plaintiff') is, and has

been at all times relevant to the instant matter, a natural person residing in

Philadelphia, Pennsylvania (Philadelphia County).

      3.     Plaintiff is disabled as defined by the ADA.

      4.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

      5.     Plaintiff uses a wheelchair for mobility purposes.

      6.     Defendant, GIVE SOME BACK, LLC (hereinafter "GIVE SOME

BACK, LLC") is a Pennsylvania domestic limited liability company, and transacts

business in the State of Pennsylvania and within this judicial district.

      7.     GIVE SOME BACK, LLC operates a business located at 4421 Main

Street, Philadelphia, Pennsylvania 19127-1325, doing business as "Lucky's Last

Chance," referenced herein as the "Facility."

      8.     GIVE SOME BACK, LLC may be properly served with process via

service, to wit: 1500 Walnut Street, 21st Floor, Philadelphia, Pennsylvania 19102.

      9.     GIVE SOME BACK, LLC is the lessee (or sub-lessee) of the real


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property and improvements that are the subject of this action.

       10.   Defendant KAMRON ASSOCIATES L.P. (hereinafter "KAMRON

ASSOCIATES L.P.") is a domestic limited partnership, and transacts business in

the State of Pennsylvania and within this judicial district.

       11.   KAMRON ASSOCIATES L.P. is the owner and/or operator of the

real property and improvements that the Facility is situated upon and that is the

subject of this action, referenced herein as the "Property."

      12.    KAMRON ASSOCIATES L.P. may be properly served with process

via its General Partner for service, to wit: 1811 Chestnut Street, 4th Floor,

Philadelphia, Pennsylvania 19103.

                           FACTUAL ALLEGATIONS

      13.    On or about January 22, 2018, Plaintiff was a customer at Lucky's

Last Chance and also attempted to utilize the restroom at the Facility.

       14.   Plaintiff lives in the near vicinity of the Facility and Property.

       15.   Plaintiffs access to the business(es) located at 4421 Main Street,

Philadelphia,   Pennsylvania        19127-1325,     Philadelphia    County        Property

Appraiser's OPA Account 871019100 ("the Property,") and/or full and equal

enjoyment of the goods, services, foods, drinks, facilities, privileges, advantages

and/or accommodations offered therein were denied and/or limited because of her


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disabilities, and she will be denied and/or limited in the future unless and until

Defendants are compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Facility and Property, including those set forth in

this Complaint.

      16.    Plaintiff has visited the Facility at least once before and intends on

revisiting the Facility once the Facility is made accessible.

      17.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      18.    Plaintiff travelled to the Facility and Property as a customer,

encountered the barriers to access at the Facility and Property that are detailed in

this Complaint, engaged those barriers, suffered legal harm and legal injury, and

will continue to suffer such harm and injury as a result of the illegal barriers to

access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      19.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq.

      20.    Congress found, among other things, that:

      (i)    some 43,000,000 Americans have one or more physical or
             mental disabilities, and this number is increasing as the
             population as a whole is growing older;

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      (ii)    historically, society has tended to isolate and segregate
              individuals with disabilities, and, despite some improvements,
              such forms of discrimination against individuals with
              disabilities continue to be a serious and pervasive social
              problem;

      (iii)   discrimination against individuals with disabilities persists in
              such critical areas as employment, housing public
              accommodations, education, transportation, communication,
              recreation, institutionalization, health services, voting, and
              access to public services;

      (iv)    individuals with disabilities continually encounter various
              forms of discrimination, including outright intentional
              exclusion, the discriminatory effects of architectural,
              transportation, and communication barriers, overprotective
              rules and policies, failure to make modifications to existing
              facilities and practices, exclusionary qualification standards and
              criteria, segregation, and relegation to lesser service, programs,
              activities, benefits, jobs, or other opportunities; and

      (v)     the continuing existence of unfair and unnecessary
              discrimination and prejudice denies people with disabilities the
              opportunity to compete on an equal basis and to pursue those
              opportunities for which our free society is justifiably famous,
              and costs the United States billions of dollars in unnecessary
              expenses resulting from dependency and nonproductivity.

42 U.S.C. § 12101(a)(l) - (3), (5) and (9).

      21.     Congress explicitly stated that the purpose of the ADA was to:

      (i)     provide a clear and comprehensive national mandate for the
              elimination of discrimination against individuals with
              disabilities;

      (ii)    provide a clear, strong, consistent, enforceable standards

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             addressing discrimination against individuals with disabilities;
             and

             *****
      (iv)   invoke the sweep of congressional authority, including the
             power to enforce the fourteenth amendment and to regulate
             commerce, in order to address the major areas of discrimination
             faced day-to-day by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

      22.    The    congressional     legislation   provided   places   of      public

accommodation one and a half years from the enactment of the ADA to implement

its requirements.

      23.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      24.    The Facility is a public accommodation and service establishment.

      25.    The Property is a public accommodation and service establishment.

      26.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      27.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer


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employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      28.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      29.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      30.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

but could not fully do so because of her disabilities resulting from the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit her access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      31.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Facility

and Property, but will be unable to fully do so because of her disability and the

physical barriers to access, dangerous conditions and ADA violations that exist at


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the Facility and Property that preclude and/or limit her access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      32.    Defendants have discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12 l 82(b )(2)(A)(iv).

      33.    Defendants will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendants are compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      34.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff's access to the Facility and Property and the full and equal

enjoyment of the goods,          services, facilities,   privileges,   advantages   and

accommodations of the Facility and Property include, but are not limited to:


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(a)     ACCESSIBLE ELEMENTS:

(i)     There are changes in level in the Property and/or Facility exceeding Yi

        (one-half) inch that are not ramped in violation of Section 303.4 of the

        2010 ADAAG standards. Specifically, there are two steps at the

        entrance to the Facility that create an excessive vertical rise at the

        entrance to the Facility that is not ramped, thus rendering the Facility

        inaccessible. This violation made it dangerous and difficult for

        Plaintiff to access the units of the Property.

(ii)    The doorway of the accessible entrance is not level in violation of

        Section 404.2.4.4 of the 2010 ADAAG standards. This violation made

        it difficult for Plaintiff to access the units of the Property.

(iii)   The Facility lacks an access route from site arrival points such as the

        public streets and sidewalks to the accessible entrance in violation of

        Section 206.2.1 of the 2010 ADAAG standards. This violation made it

        dangerous and difficult for Plaintiff to access the Facility.

(iv)    The Facility lacks at least 5% (five percent) of the exterior dining

        surfaces provided for consumption of food or drink that comply with

        Section 902.2 of the 2010 ADAAG standards, requiring appropriate

        knee and toe clearance complying with Section 306 of the 2010


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       ADAAG standards, positioned for a forward approach, in violation of

       section 226.1 of the 2010 ADAAG standards.

(v)    The interior of the Facility has a bar lacking any portion of the counter

       that has a maximum height of 34 (thirty-four) inches from the finished

       floor in violation of Section 902.3 of the 2010 ADAAG standards, all

       portions of the bar exceed 34 (thirty-four) inches in height from the

       finished floor. This violation made it difficult for Plaintiff to properly

       transact business at the Facility.

(vi)   The Facility lacks at least 5% (five percent) of the interior dining

       surfaces provided for consumption of food or drink which complies

       with section 902.3 requiring the maximum height of the dining

       surface to be maximum 34 (thirty-four) inches above the finished

       floor in violation of Section 226.1 of the 2010 ADAAG standards.

(vii) Due to a policy of how Defendants place tables and chairs within the

       Facility, the interior of the Facility has walking surfaces leading to the

       restroom lacking a 36 (thirty-six) inch clear width in violation of

       Section 403.5.1 of the 2010 ADAAG standards. This violation made it

       difficult for Plaintiff to properly utilize public features at the Facility.




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(viii) Defendants fail to adhere to a policy, practice and procedure to ensure

        that all facilities are readily accessible to and usable by disabled

        individuals.

(b)     RESTROOMS:

(i)     The Facility lacks restroom signage in compliance with Sections

        216.8 and 703 of the 2010 ADAAG standards. This made it difficult

        for Plaintiff to locate accessible restroom facilities.

(ii)    The door hardware of the bathroom entrance has operable parts which

        require tight grasping, pinching or twisting of the wrist in violation of

        Section 309 .4 of the 2010 ADAAG standards. This made it difficult

        for Plaintiff to utilize the restroom facilities.

(iii)   The door hardware of the restrooms are not at the proper height in

        violation of Section 404.2.7 of the 2010 ADAAG standards. This

        made it difficult for Plaintiff to utilize the restroom facilities.

(iv)    The paper towel dispenser in the restroom is located outside the

        prescribed vertical reach ranges set forth in Section 308.2.1 of the

        2010 ADAAG standards. This made it difficult for Plaintiff to safely

        utilize the restroom facilities.

(v)     Restrooms have a vanity with inadequate knee and toe clearance in


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             violation of Section 306 of the 2010 ADAAG standards. This made it

             difficult for Plaintiff to safely utilize the restroom facilities.

      (vi)   The restrooms in the Facility have grab bars adjacent to the commode

             which are not in compliance with Section 604.5 of the 2010 ADAAG

             standards as the rear bar is too short. This made it difficult for Plaintiff

             to safely utilize the restroom facilities.


      (vii) The hand operated flush control is not located on the open side of the

             accessible stall in violation of Section 604.6 of the 2010 ADAAG

             standards. This made it difficult for Plaintiff to safely utilize the

             restroom facilities.


      35.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      36.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      37.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried



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out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      38.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      39.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      40.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendants have the financial resources to make the necessary

modifications.

      41.   Upon information and good faith belief, the Facility and Property

have been altered since 2010.

      42.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      43.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendants are required to remove the physical barriers, dangerous


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conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      44.    Plaintiffs requested relief serves the public interest.

      45.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendants.

      46.    Plaintiffs counsel is entitled to recover its reasonable attorney's fees

and costs oflitigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

      47.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendants to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant, GIVE SOME BACK, LLC, m

             violation of the ADA and ADAAG;

      (b)    That the Court find Defendant, KAMRON ASSOCIATES L.P., in

             violation of the ADA and ADAAG;

      (c)    That the Court issue a permanent injunction enjoining Defendants

             from continuing their discriminatory practices;

      (d)    That the Court issue an Order requiring Defendants to (i) remove the

             physical barriers to access and (ii) alter the subject Facility to make it


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      readily accessible to and useable by individuals with disabilities to the

      extent required by the ADA;

(e)   That the Court award Plaintiff her reasonable attorneys' fees, litigation

      expenses and costs; and

(f)   That the Court grant such further relief as just and equitable in light of

      the circumstances.

                                Dated: February 7, 2018.




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